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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                            Chief Judge Philip A. Brimmer

Criminal Case No. 20-cr-00152-PAB-7

UNITED STATES OF AMERICA,

       Plaintiff,

v.

7. JIMMIE LEE LITTLE,

       Defendant.


                                         ORDER



       This matter is before the Court on the United States’ Motion to Dismiss Count 3

of the Superseding Indictment with Prejudice [Docket No. 826]. The Court has reviewed

the pleading and is fully advised in the premises. It is

       ORDERED that the United States’ Motion to Dismiss Count 3 of the Superseding

Indictment with Prejudice [Docket No. 826] is granted. It is further

       ORDERED that Count 3 of the superseding indictment is dismissed with

prejudice as to defendant Jimmie Lee Little.


       DATED November 12, 2021.

                                          BY THE COURT:


                                          ____________________________
                                          PHILIP A. BRIMMER
                                          Chief United States District Judge
